                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

--------------------------------------------------------------x
YUCAIPA AMERICAN ALLIANCE FUND I,                             :
L.P., and YUCAIPA AMERICAN ALLIANCE                           :
(PARALLEL) FUND I, L.P.,                                      :
                                                              :
                             Plaintiffs,                      :   Case No.: 15-cv-373 (SLR)
                                                              :
                         - against -                          :   ECF Case
                                                              :
RICHARD A. EHRLICH, STEPHEN H.                                :
DECKOFF, LESLIE A. MEIER, JEFFREY A.                          :
SCHAFFER, BDCM OPPORTUNITY FUND II, :
L.P., BLACK DIAMOND CLO 2005-1 LTD., and :
SPECTRUM INVESTMENT PARTNERS, L.P., :
                                                              :
                             Defendants.                      :
                                                              :
--------------------------------------------------------------x




            DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                   MOTION TO DISMISS OR STAY THE ACTION

                                                          LANDIS RATH & COBB LLP
                                                          919 Market Street, Suite 1800
                                                          Wilmington, Delaware 19801
                                                          (302) 467-4400

                                                          -and-

                                                          SCHULTE ROTH & ZABEL LLP
                                                          919 Third Avenue
                                                          New York, New York 10022
                                                          (212) 756-2000

                                                          Attorneys for Defendants Richard A. Ehrlich,
                                                          Stephen H. Deckoff, Leslie A. Meier, Jeffrey A.
                                                          Schaffer, BDCM Opportunity Fund II, L.P.,
                                                          Black Diamond CLO 2005-1 Ltd., and Spectrum
                                                          Investment Partners, L.P.
                                                  TABLE OF CONTENTS

PRELIMINARY STATEMENT.......................................................................................................1

STATEMENT OF FACTS ...............................................................................................................7

          A.         The Credit Agreement ..............................................................................................7

          B.         The Third Amendment .............................................................................................7

          C.         The Purported Fourth Amendment ..........................................................................8

          D.         Spectrum Buys Additional First Lien Debt..............................................................9

          E.         JCT’s Negotiations to Buy Allied’s Assets and First Lien Debt ............................10

          F.         Proceedings Before the Bankruptcy Court ............................................................11

          G.         Proceedings Before the Delaware Chancery Court ...............................................14

          H.         Proceedings in the Southern District of New York ...............................................14

ARGUMENT .................................................................................................................................15

I.        Yucaipa’s Claims Are Barred by Noerr-Pennington ..........................................................15

          A.         Yucaipa Fails to Satisfy the Objective Prong of the “Mere Sham” Exception ......16

          B.         Yucaipa Fails to Satisfy the Subjective Prong of the “Mere Sham” Exception .....17

II.       Yucaipa’s Complaint Is Barred by the Covenant Not to Sue .............................................18

III.      Yucaipa Fails to State a Claim Under RICO ......................................................................20

          A.         Yucaipa Lacks Standing to Assert Its RICO Claims ..............................................21

          B.         Yucaipa Fails to Allege a Pattern of Racketeering Activity ...................................23

          C.         Yucaipa Is Collaterally Estopped From Alleging that Black Diamond and
                     Spectrum “Encouraged” Yucaipa to Buy First Lien Debt......................................26

          D.         Yucaipa’s Allegations Regarding Black Diamond and Spectrum’s Purported
                     Racketeering “Scheme” Are Implausible...............................................................29

          E.         Yucaipa Fails to State a Claim for RICO Conspiracy ............................................32

          F.         The Court Should Decline to Exercise Supplemental Jurisdiction Over
                     Yucaipa’s State Law Claims...................................................................................33


                                                                     i
IV.       Yucaipa Fails to State Claims for Tortious Interference With Business Relations or
          Fraud ..................................................................................................................................33

V.        This Action Should Be Stayed Pending Resolution of Related Actions in the
          Bankruptcy Court ...............................................................................................................34

CONCLUSION ..............................................................................................................................35




                                                                        ii
                                               TABLE OF AUTHORITIES

Cases                                                                                                                          Page(s)

A.D. Bedell Wholesale Co., Inc. v. Philip Morris Inc.,
   263 F.3d 239 (3d Cir. 2001).....................................................................................................15

APV N. Am., Inc v. Sig Simonazzi N. Am., Inc.,
  295 F. Supp. 2d 393 (D. Del. 2002) .........................................................................................34

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................29

Baldwin v. Township of Union,
   No. 02 Civ. 1822 (WGB), 2005 WL 3588473 (D.N.J. Dec. 29, 2005) ...................................24

Barbieri v. Wells Fargo & Co.,
   No. 09 Civ. 3196 (RBS), 2014 WL 7330461 (E.D. Pa. Dec. 22, 2014) ..................................22

Barnett v. Stern,
   909 F.2d 973 (7th Cir. 1990) ...................................................................................................23

Bath Petroleum Storage, Inc. v. Mkt. Hub Partners, L.P.,
   No. 00-7302, 2000 WL 1508873 (2d Cir. Oct. 11, 2000).................................................. 15-16

Bd. of Trustees of Trucking Employees of N. Jersey Welfare Fund, Inc. - Pension Fund v. Centra,
    983 F.2d 495 (3d Cir. 1992).....................................................................................................27

BDCM Opportunity Fund II, LP v. Yucaipa Am. Alliance Fund I, LP,
  No. 650150/2012, 2013 WL 1290394 (N.Y. Sup. Ct. Mar. 8, 2013) ........................................9

BDCM Opportunity Fund II, LP v. Yucaipa Am. Alliance Fund I, LP,
  112 A.D.3d 509 (1st Dep’t 2013) ..............................................................................................3

BDCM Opportunity Fund II, L.P. v. Yucaipa Am. Alliance Fund I, LP,
  22 N.Y.3d 1171 (2014) ..............................................................................................................3

Beck v. Prupis,
   529 U.S. 494 (2000) .................................................................................................................32

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................29

Braintree Labs., Inc. v. Schwartz Pharma, Inc.,
   568 F. Supp. 2d 487 (D. Del. 2008) .........................................................................................16




                                                                    iii
Cheminor Drugs, Ltd. v. Ethyl Corp.,
   168 F.3d 119 (3d Cir. 1999)...............................................................................................15, 16

E.E.O.C. v. Univ. of Pennsylvania,
   850 F.2d 969 (3d Cir. 1988).....................................................................................................35

E.R.R. Presidents Conference v. Noerr Motor Freight, Inc.,
   365 U.S. 127 (1961) .................................................................................................................15

First Capital Asset Mgmt., Inc. v. Brickellbush, Inc.,
    219 F. Supp. 2d 576 (S.D.N.Y. 2002)......................................................................................23

FL Receivables Trust 2002-A v. Bagga,
   No. 03 Civ. 5108 (BWK), 2005 WL 563535 (E.D. Pa. Mar. 8, 2005) ....................................22

Giles v. Phelan, Hallinan & Schmeig, L.L.P.,
   No. 11-6239, 2013 WL 2444036 (D.N.J. June 4, 2013) ..........................................................15

Goldfine v. Sichenzia,
   118 F. Supp. 2d 392 (S.D.N.Y. 2000)............................................................................ 1, 20-21

Gross v. Waywell,
   628 F. Supp. 2d 475 (S.D.N.Y. 2009)......................................................................................26

H.J. Inc. v. Nw. Bell Telephone Co.,
   492 U.S. 229 (1989) ...........................................................................................................23, 24

Harbinger Capital Partners Master Fund I, Ltd. v. Wachovia Capital Markets, LLC,
   347 F. App’x 711 (2d Cir. 2009) .............................................................................................22

Helman v. Murry’s Steaks, Inc.,
   742 F. Supp. 860 (D. Del. 1990) ..............................................................................................25

Hindes v. Castle,
   937 F.2d 868 (3d Cir. 1991).....................................................................................................25

Hughes v. Consol-Penn. Coal Co.,
   945 F.2d 594 (3d Cir. 1991)...............................................................................................21, 24

Irwin & Leighton, Inc. v. W.M. Anderson Co.,
   532 A.2d 983 (Del. Ch. 1987)..................................................................................................33

Jean Alexander Cosmetics, Inc. v. L’Oreal USA, Inc.,
   458 F.3d 244 (3d Cir. 2006).....................................................................................................27

Johnson v. Goldstein,
   864 F. Supp. 490 (E.D. Pa. 1994), aff’d 66 F.3d 311 (3d Cir. 1995).......................................31



                                                                   iv
Johnson v. Heimbach,
   No. 03 Civ.A. 2483 (BMS), 2003 WL 22838476 (E.D. Pa. Nov. 25, 2003) ...........................22

Kehr Packages, Inc. v. Fidelcor, Inc,
   926 F.2d 1406 (3d Cir. 1991).............................................................................................25, 26

Klatch-Maynard v. Sugarloaf Twp.,
   No. 3:06cv845, 2011 WL 532168 (M.D. Pa. Feb. 8, 2011) ....................................................15

Kolar v. Preferred Real Estate Investments, Inc.,
   361 F. App’x 354 (3d Cir. 2010) .............................................................................................24

Lightning Lube, Inc. v. Witco Corp.,
   4 F.3d 1153 (3d Cir. 1993).......................................................................................................33

Lord v. Souder,
   748 A.2d 393 (Del. 1999) ........................................................................................................34

Magnetar Techs. Corp. v. Six Flags Theme Parks, Inc.,
  No. 07-127-LPS, 2011 WL 678707 (D. Del. Feb. 18, 2011) ..................................................15

Maio v. Aetna, Inc.,
   221 F.3d 472 (3d Cir. 2000).....................................................................................................22

Mcdonald v. Smith,
  472 U.S. 479 (1985) .................................................................................................................15

Meade v. Meade,
  No. 91 Civ. 5515, 1991 WL 243539 (E.D. Pa. Nov. 18, 1991) ...............................................25

Meyers v. Heffernan,
  740 F. Supp. 2d 637 (D. Del. 2010) ...........................................................................................7

Mierzwa v. Safe & Secure Self Storage, LLC,
   493 F. App’x 273 (3d Cir. 2012) .............................................................................................32

Motorola Credit Corp. v. Uzan,
   322 F.3d 130 (2d Cir. 2003).....................................................................................................22

O’Malley v. BancAmerica Commercial Corp.,
   No. 89 Civ. A. 89-2405, 1992 WL 81394 (E.D. Pa. Apr. 17, 1992) .......................................21

Pac. Elec. Wire & Cable Co., Ltd. v. Set Top Intern., Inc.,
   No. 03 Civ. 9623 (JFK), 2005 WL 578916 (S.D.N.Y. Mar. 11, 2005) ...................................21

Prof’l Real Estate Investors v. Columbia Pictures Indus.,
   508 U.S. 49 (1993) .............................................................................................................16, 17



                                                                   v
Rotherberg v. Marger,
   11 Civ. 5497 (RBK), 2013 U.S. Dist. LEXIS 44473 (D.N.J. Mar. 28, 2013) .........................21

Sedima S.P.R.L. v. Imrex Co., Inc.,
   473 U.S. 479 (1985) .................................................................................................................23

Sunlight Elec. Contracting Co., Inc. v. Turchi,
   918 F. Supp. 2d 392 (E.D. Pa. 2013) .......................................................................................21

Tabas v. Tabas,
   47 F.3d 1280 (3d Cir. 1995).....................................................................................................25

United Mine Workers of Am. v. Gibbs,
   383 U.S. 715 (1966) .................................................................................................................33

United Mine Workers of Am. v. Pennington,
   381 U.S. 657 (1965) .................................................................................................................15

Walter v. Palisades Collection, LLC,
   480 F. Supp. 2d 797 (E.D. Pa. 2007) .......................................................................................22

Yucaipa Am. Alliance Fund I, LP v. SBDRE LLC,
   No. 9151-VCP, 2014 WL 5509787 (Del. Ch. Oct. 31, 2014) ...............................14, 18, 19, 20

Zahl v. N.J. Dep’t of Law & Public Safety Division of Consumer Affairs,
   428 F. App’x 205 (3d Cir. 2011) ....................................................................................... 28-29




                                                                   vi
                Defendants BDCM Opportunity Fund II L.P., Black Diamond CLO 2005-1 Ltd.

(collectively, “Black Diamond”), Spectrum Investment Partners, L.P. (“Spectrum”), Richard A.

Ehrlich, Stephen H. Deckoff, Leslie A. Meier and Jeffrey A. Schaffer (collectively,

“Defendants”), by and through their undersigned counsel, respectfully submit this Memorandum

of Law in support of their motion, pursuant to Federal Rule of Civil Procedure 12(b)(6), to

dismiss the Complaint filed by Plaintiffs Yucaipa American Alliance Fund I, L.P. and Yucaipa

American Alliance (Parallel) Fund I, L.P. (“Yucaipa”), or alternatively to stay this action pending

resolution of earlier-filed related actions.

                                  PRELIMINARY STATEMENT

                This action is nothing more than a garden variety business dispute dressed up as a

federal RICO case.1 Further, claims based on the same allegations as those asserted here have

been filed in four other court2 systems at various times over the last three and a half years, and

have been the subject of numerous decisions. Several of these cases are still being actively

litigated. The claims brought before this Court are simply Yucaipa’s attempt to get one more

bite at the apple because of its failure in all the other courts to date.

                The instant Complaint is the most transparent example of Yucaipa’s opportunistic

forum shopping. Only 7 days before filing the Complaint in this Court, Yucaipa withdrew a

nearly identical RICO complaint against the same Defendants in the Southern District of New

York before Judge Denise L. Cote (the “SDNY Complaint”) after: (i) Defendants filed a motion

to dismiss (on the same substantive grounds underlying this motion); and (ii) Judge Cote issued

1
  “[E]very member of the federal bench has before him or her at least one – and possibly more –
garden variety fraud or breach of contract case that some Plaintiff has attempted to transform
into a [RICO case].” Goldfine v. Sichenzia, 118 F. Supp. 2d 392, 394-95 (S.D.N.Y. 2000).
2
 Chronologically, New York state court, the United States Bankruptcy Court for the District of
Delaware, Delaware Chancery Court, and United States District Court for the Southern District
of New York.

                                                    1
an Order directing that if Yucaipa filed opposition papers to Defendants’ motion rather than

amending the SDNY Complaint, Yucaipa would be given “no further opportunity to amend.”3

Yucaipa, rather than amending the SDNY Complaint or defending the sufficiency of its

allegations, withdrew the SDNY Complaint and filed a virtually identical Complaint in this

Court in an incredibly transparent attempt at forum shopping. For the reasons discussed below,

the Complaint should be dismissed.

                To begin, Yucaipa’s RICO claims are completely without merit because this

action does not involve a criminal enterprise or a pattern of racketeering activity. This is simply

a contractual dispute between creditors of Allied Systems Holdings, Inc.4 and its related entities

(collectively, “Allied”), which are debtors in a three-year-old bankruptcy case, In re ASHINC

Corp., Case No. 12-11564 (CSS) (Bankr. D. Del.). The contract at issue is a Credit Agreement5

pursuant to which Allied borrowed $265 million of first lien debt (the “First Lien Debt”) from

the lenders party to the Credit Agreement (the “Lenders”).

                Allied was an automotive hauling company. When Allied emerged from a prior

bankruptcy in 2007, Yucaipa became Allied’s majority shareholder; in addition, at that time,

Allied entered into the Credit Agreement. Shortly thereafter, in 2008, under the direction of the

Yucaipa-controlled board, Events of Default occurred under the terms of the Credit Agreement,

and in August 2009 Yucaipa caused Allied to stop making interest payments on the First Lien


3
 A copy of the SDNY Complaint is attached as Exhibit 1 to the Affirmation of Kerri K.
Mumford in Support of Defendants’ Motion to Dismiss (“Mumford Aff.”), dated June 4, 2015
and filed concurrently herewith.
4
    Allied Systems Holdings, Inc. is now known as ASHINC Corporation.
5
  “Credit Agreement” refers to the Amended and Restated First Lien Secured Super-Priority
Debtor in Possession and Exit Credit and Guaranty Agreement, as amended and restated as of
May 15, 2007, between Allied Holdings Inc. and Allied Systems Ltd. (L.P.) as Borrowers, and
the Lenders from time to time party thereto (as amended). (Compl. Ex. 1.)

                                                 2
Debt. Then, in violation of the express terms of the Credit Agreement, Yucaipa attempted in

August 2009 to purchase a majority of Allied’s First Lien Debt in order to seize control of that

debt by declaring itself the “Requisite Lender” (i.e., the majority Lender under the Credit

Agreement vested with the power to exercise, or refrain from exercising, the remedies under the

Credit Agreement) and prevent the other Lenders (including Black Diamond and Spectrum) from

exercising the remedies available to them under the Credit Agreement, including accelerating the

First Lien Debt and foreclosing on the collateral.6

               When the administrative agent for the Lenders (“CIT”) opposed Yucaipa’s

attempt to seize control of the debt, Yucaipa sued CIT in 2009. That case settled in December

2011 which did not resolve the issues between Yucaipa and the other Lenders.

               Black Diamond and Spectrum thereupon commenced suit in January 2012 in the

Supreme Court for the State of New York (the “New York Court”) and successfully obtained a

judicial declaration that Yucaipa was not the Requisite Lender because the Purported Fourth

Amendment to the Credit Agreement was not validly enacted and was void ab initio.7

               In May 2012, shortly before the maturity date of the First Lien Debt, Black

Diamond and Spectrum filed involuntary bankruptcy petitions against Allied in the Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”). Allied shortly thereafter consented
6
  As set forth in greater detail below, Yucaipa engineered an amendment (the “Third
Amendment”) to the Credit Agreement in order to allow itself to buy First Lien Debt, which had
been previously prohibited by the Credit Agreement, and then attempted to force another
amendment (the “Purported Fourth Amendment”) on the Lenders to allow itself to become the
Requisite Lender. If Yucaipa could prevent the Lenders from exercising rights and remedies
against Allied resulting from Events of Default, it could preserve its equity investment in Allied
in the face of Allied’s defaults. (The Third Amendment is attached to the Complaint as Exhibit
14; and the Purported Fourth Amendment is attached to the Complaint as Exhibit 2.)
7
  The New York Appellate Division affirmed that decision. BDCM Opportunity Fund II, LP v.
Yucaipa Am. Alliance Fund I, LP, 112 A.D.3d 509 (1st Dep’t 2013). Yucaipa then sought leave
to appeal from the New York Court of Appeals, which application was denied. BDCM
Opportunity Fund II, L.P. v. Yucaipa Am. Alliance Fund I, LP, 22 N.Y.3d 1171, 1171 (2014).

                                                 3
to the entry of orders for relief under the Bankruptcy Code. In Allied’s bankruptcy cases, Black

Diamond and Spectrum, as well as the Official Committee of Unsecured Creditors of Allied

Systems Holdings, Inc. (the “Committee”), commenced actions, which are still pending, seeking

(among other things) to equitably subordinate Yucaipa’s First Lien Debt because of Yucaipa’s

inequitable conduct.8 Black Diamond and Spectrum also successfully obtained a judicial

declaration from the Bankruptcy Court that they, and not Yucaipa, are the Requisite Lenders.9

               Faced with these litigation losses and the prospect that the First Lien Debt it

purchased will be equitably subordinated, Yucaipa has filed a series of claims in different courts

against Black Diamond and Spectrum: (i) in the Court of Chancery of the State of Delaware (the

“Delaware Chancery Court”),10 where Yucaipa seeks to seize control of certain assets of Allied

that were purchased by the Lenders in a Bankruptcy Court-supervised auction; (ii) in the

Bankruptcy Court, where Yucaipa made a motion in the Committee Action to file an otherwise

untimely counterclaim which seeks to equitably subordinate Black Diamond and Spectrum’s

First Lien Debt and where Yucaipa filed an identical counterclaim in the BD/S Action; (iii) in the

Southern District of New York, asserting the SDNY Complaint that was virtually the mirror

image of Yucaipa’s aforesaid counterclaims in the Bankruptcy Court, but simply re-characterizes

the same allegations as an alleged “criminal enterprise” of racketeering activity; and (iv) in this


8
  The Committee, asserting derivative claims on behalf of Allied, commenced its action against
Yucaipa in January 2013 (the “Committee Action”) in which Black Diamond and Spectrum are
Intervenor Plaintiffs; Black Diamond and Spectrum commenced their own action (the “BD/S
Action”) in November 2014, asserting direct claims against Yucaipa.
9
 Yucaipa appealed this decision to this Court, although the prosecution of that appeal was stayed
pending mediation by the parties by order of the Bankruptcy Court. That mediation was
unsuccessful and the appeal is now proceeding.
10
  Most of the claims raised by Yucaipa in the Delaware Chancery Court have been dismissed,
with some claims being stayed pending the resolution of the adversary proceedings before the
Bankruptcy Court.

                                                  4
Court, asserting yet another RICO complaint that is virtually the mirror image of the SDNY

Complaint and the aforesaid equitable subordination claims.

               Yucaipa’s Complaint in this action should be dismissed for the following reasons:

               First, Yucaipa’s Complaint is premised entirely on the assertion that, as part of a

racketeering scheme to equitably subordinate Yucaipa’s claims, Black Diamond and Spectrum

filed the involuntary petitions against Allied and filed equitable subordination claims against

Yucaipa. However, Black Diamond and Spectrum’s litigation filings are protected under the

Noerr-Pennington Doctrine, which immunizes litigation-related activity from liability.

               Second, Yucaipa’s claims are barred by a covenant in the operative Third

Amendment to the Credit Agreement (the “Covenant Not to Sue”) pursuant to which Yucaipa is

barred from suing any Lenders for claims related to the Credit Agreement.

               Third, Yucaipa lacks standing to assert its RICO claims because those claims

would not be ripe until Black Diamond and Spectrum have actually succeeded in equitably

subordinating Yucaipa’s claims.

               Fourth, Yucaipa has failed to allege a pattern of racketeering activity given that

the alleged predicate acts spanned only nine months, and because the alleged scheme has only

one objective (the equitable subordination of Yucaipa’s debt), only one intended victim

(Yucaipa), and an inherently finite duration (the conclusion of Allied’s bankruptcy cases).

               Fifth, Yucaipa’s allegations of a RICO scheme are simply not plausible. Yucaipa

alleges that as part of their scheme to equitably subordinate Yucaipa’s First Lien Debt, Black

Diamond and Spectrum “encouraged” Yucaipa to buy First Lien Debt and declare itself the

Requisite Lender – allegations which, as set forth below, the Bankruptcy Court has already

dismissed as implausible, a finding entitled to collateral estoppel before this Court. Yucaipa also



                                                 5
alleges that Black Diamond and Spectrum “scuttled” a deal with a third party, Jack Cooper

Transport (“JCT”) in which JCT would have paid Lenders, including Black Diamond and

Spectrum, 100% of their First Lien Debt plus accrued interest (which, according to Yucaipa,

would have resulted in a substantial gain based on the discounted price paid for the debt), to

instead pursue a highly unpredictable litigation strategy, with no assured outcome, to recover the

same amount in damages based on the subordination of Yucaipa’s debt.11 It is simply not

plausible that any rational business person would forgo a guaranteed full recovery to instead

pursue a highly unpredictable and costly litigation for a substantially similar recovery.

               Sixth, given that Yucaipa has failed to state a federal RICO claims, Yucaipa’s

state law claims should be dismissed for lack of subject matter jurisdiction.

               Seventh, even if this Court exercises supplemental jurisdiction over Yucaipa’s

state law claims, those claims should nevertheless be dismissed. Yucaipa’s tortious interference

claim fails because, by Yucaipa’s own admission, Black Diamond and Spectrum pursued their

own economic self-interests when they filed the involuntary bankruptcy petitions and the

equitable subordination claims against Yucaipa. Yucaipa’s fraud claim fails because Yucaipa

has failed to adequately allege reliance or injury, and, moreover, the allegations of fraud are best

adjudicated by the Bankruptcy Court where the alleged fraud took place.

               Finally, if any of Yucaipa’s claims are not dismissed, this action should be stayed

pending the resolution of the earlier-filed actions that are pending in the Bankruptcy Court in the


11
  In the SDNY Complaint, Yucaipa admitted that JCT would have paid par plus accrued interest.
(SDNY Compl. ¶¶ 24, 103.) Tellingly, because that fact demonstrates the implausibility of
Yucaipa’s alleged RICO scheme, Yucaipa now alleges that the JCT would not have paid par plus
accrued interest (Compl. ¶¶ 19, 99, 124) in a transparent attempt to conceal the implausibility of
their allegations. Yucaipa, however, cannot escape its prior admission in the SDNY Complaint
that JCT would have paid par plus accrued interest because the term sheet showing that price
offer is attached to the current Complaint. (Compl. Ex. 4.)

                                                 6
interests of judicial economy and to avoid the risk of inconsistent rulings and because those

actions are likely to resolve all claims between the parties, including those asserted here.

                                   STATEMENT OF FACTS12

       A.      The Credit Agreement

               As noted above, in May 2007, Allied emerged from bankruptcy under a plan of

reorganization financed by $265 million of First Lien Debt pursuant to the Credit Agreement.

Compl. ¶ 68.) Central to the Credit Agreement is the “Requisite Lender,” which is the Lender(s)

holding a majority of the First Lien Debt vested with the authority to exercise, or refrain from

exercising, numerous remedies on behalf of all Lenders. (Compl. ¶ 78, Ex. 1 § 1.1.) The Credit

Agreement, as originally drafted, expressly prohibited Yucaipa (Allied’s majority shareholder

which controlled Allied’s board) from acquiring any First Lien Debt, thereby preventing Yucaipa

from ever becoming the Requisite Lender. (Id. ¶ 68.)

       B.      The Third Amendment

               In 2008, Yucaipa orchestrated the passage of a Third Amendment to the Credit

Agreement that would, for the first time, allow Yucaipa to acquire First Lien Debt. (Compl.

¶ 73.) However, under the Third Amendment, Yucaipa has extremely limited rights to become a

“Lender”: the amount of debt Yucaipa could acquire was capped and any debt it purchased

would be stripped of any voting power. (Compl. Ex. 14 (Third Amendment § 2.1(a)).) Because

of those restrictions, and others, Yucaipa could never become the Requisite Lender under the

Third Amendment.

12
   Although, for purposes of a motion to dismiss, the Court must accept the well-pled factual
allegations in the Complaint as true, because Yucaipa’s Complaint is replete with
mischaracterizations and material omissions, this Statement of Facts supplements the allegations
in the Complaint with facts from various public filings of which this Court can take judicial
notice (especially given the extensive history of the numerous cases between the parties).
Meyers v. Heffernan, 740 F. Supp. 2d 637, 640 n.4 (D. Del. 2010).

                                                  7
               Additionally, the Third Amendment has a Covenant Not to Sue, which severely

limits Yucaipa’s right to sue any Lender. The Covenant Not to Sue provides:

               To the fullest extent permitted by applicable law, no Restricted
               Sponsor Affiliate [Yucaipa] shall assert, and each Restricted
               Sponsor Affiliate immediately and automatically upon becoming a
               Lender, hereby irrevocably (i) waives, any claim or cause of action
               against any Lender, any Agent and their respective Affiliates . . .
               (whether or not the claim therefor is based on contract, tort or duty
               imposed by any applicable legal requirement or otherwise) arising
               out of, in connection with, as a result of, or in any way related to,
               this Agreement or any Credit Document or any agreement or
               instrument contemplated hereby or thereby or referred to herein or
               therein, the transactions contemplated hereby or thereby, any Loan
               or the use of the proceeds thereof or any act or omission or event
               occurring in connection therewith except to the extent caused by
               such Lender’s or Agent’s gross negligence or willful misconduct
               . . . as determined by a court of competent jurisdiction by final and
               non-appealable judgment, (ii) waives, releases and agrees not to
               sue upon any such claim or any such cause of action, whether or
               not accrued and whether or not known or suspected to exist in its
               favor and (iii) waives any claim or cause of action against any
               Agent or any Lender . . . on any theory of liability for special,
               indirect, consequential or punitive damages . . . .

(Id. § 2.7(e) (emphasis added).)

       C.      The Purported Fourth Amendment

               In February 2009, ComVest Investment Partners III, L.P. (“ComVest”) became the

Requisite Lender. (Compl. ¶ 78.) Between March 2009 and August 2009, Yucaipa directly

negotiated with ComVest to acquire ComVest’s First Lien Debt in an effort to become the

Requisite Lender. (Id.) Yucaipa alleges that during this period, Black Diamond and Spectrum

hatched a scheme to equitably subordinate Yucaipa’s First Lien Debt, which it had not even

bought yet. (Id. ¶ 79.) As part of that alleged scheme, Yucaipa alleges that Black Diamond and

Spectrum “encouraged” Yucaipa to buy as much First Lien Debt as possible. (Id. ¶ 85.)

               As discussed above, the Third Amendment restricted, among other things, the

amount of First Lien Debt that Yucaipa could acquire, which prevented Yucaipa from becoming
                                                 8
the Requisite Lender. Thus, in an effort to become the Requisite Lender, on August 21, 2009,

Yucaipa caused Allied, which was under Yucaipa’s direction and control, to enter into the

Purported Fourth Amendment that, if effective, would have eliminated the Third Amendment’s

restrictions on Yucaipa’s acquisition of First Lien Debt, and would have allowed Yucaipa to

become the Requisite Lender.13 (Id. ¶ 88.) That same day, Yucaipa purported to purchase the

First Lien Debt owned by ComVest, and declared itself the Requisite Lender. (Id. ¶ 89.)

               The Purported Fourth Amendment, however, was never approved by the

unanimous consent of the Lenders as was required for it to become effective. Thus, on March 8,

2013, Black Diamond and Spectrum successfully obtained a declaratory judgment from the New

York Court that the Purported Fourth Amendment was void ab initio and that Yucaipa was not

the Requisite Lender. BDCM Opportunity Fund II, LP v. Yucaipa Am. Alliance Fund I, LP, No.

650150/2012, 2013 WL 1290394, at *5 (N.Y. Sup. Ct. Mar. 8, 2013).

       D.      Spectrum Buys Additional First Lien Debt

               In mid-2011, Black Diamond and Spectrum entered into a Cooperation

Agreement pursuant to which they agreed to work together to maximize their recoveries as

Lenders. (Compl. ¶ 101; id. Ex. 13.) The Cooperation Agreement provides that if one party

acquired additional First Lien Debt, the acquiring party would offer the other party the

opportunity to buy its ratable share of that debt at the same price. (Id. Ex. 13 ¶ 3.)

               Pursuant to the Cooperation Agreement, Black Diamond and Spectrum agreed to

communicate regularly. (Id. ¶ 4.) Yucaipa alleges that five such email communications, from

September 16, 2011 through March 21, 2012, constitute RICO predicate acts of wire fraud in

violation of 18 U.S.C. § 1343. (Id. ¶ 193.)

13
  In fact, the only Lender who executed the Purported Fourth Amendment was ComVest; no other
Lender was even asked to sign.

                                                  9
               Yucaipa also alleges that in or around May 2012, Black Diamond transferred $4

million (in face amount) of First Lien Debt to Spectrum – the so-called “Involuntary Petition

Payoff” – to obtain “Spectrum’s support of the involuntary petition strategy.” (Id. ¶ 107.)

Yucaipa admits, however, that this transfer was made “in accordance with the Cooperation

Agreement” and that the amount of First Lien Debt that Spectrum purchased was its ratable share

of First Lien Debt that Black Diamond had purchased earlier and at the same price. (Id.)

Yucaipa further alleges that the Involuntary Petition Payoff was a “bribe” because Spectrum

allegedly received “favorable pricing terms in exchange for Spectrum’s support of the

involuntary petition strategy.” (Id.) Yucaipa alleges that the Involuntary Petition Payoff was “a

bribe and inducement” for Spectrum’s agreement to join the involuntary petitions in violation of

18 U.S.C. § 152(6), which Yucaipa alleges was a RICO predicate act. (Compl. ¶¶ 167-72.)

Yucaipa alleges additional RICO predicate acts of mail fraud for the transfer of “documents

reflecting the illegal claims transfer from Black Diamond to Spectrum.” (Id. ¶ 198.)

       E.      JCT’s Negotiations to Buy Allied’s Assets and First Lien Debt

               Yucaipa alleges that from December 2011 to May 2012, Yucaipa was in

negotiations with JCT for a deal in which JCT would acquire Allied’s assets using First Lien

Debt, and that from March 2011 to May 2012, Black Diamond and Spectrum also were in

negotiations with JCT regarding JCT’s efforts to acquire Allied’s assets. (Compl. ¶¶ 96, 98.) In

the virtually identical SDNY Complaint that Yucaipa filed (and later withdrew), Yucaipa

admitted that JCT would have purchased all outstanding First Lien Debt “for a purchase price of

up to par plus accrued interest,” which “would have benefitted all First Lien Lenders (including

Yucaipa and Defendants) on equal terms” and “would have maximized value for all Allied

stakeholders.” (SDNY Compl. ¶ 103 (emphasis added).) Realizing, as set forth below, that such

admissions are fatal to its claims, Yucaipa omitted those admissions from its present Complaint
                                                10
and now alleges that Black Diamond and Spectrum “were not interested in any deal with JCT

because they would have been unable to recover par plus accrued interest” and that “it was

doubtful any First Lien Claims would be paid in full.” (Compl. ¶¶ 124-25 (emphasis added).)

Yucaipa alleges that Black Diamond and Spectrum “scuttled” the deal with JCT when it filed

involuntary bankruptcy petitions against Allied. (Id. ¶¶ 33, 157.)14

       F.      Proceedings Before the Bankruptcy Court

               On May 17, 2012, Black Diamond and Spectrum filed involuntary petitions

against Allied in the Bankruptcy Court. Allied consented to the bankruptcy shortly thereafter.

(Compl. ¶ 110; Mumford Aff. Ex. 2 (Allied Bankr., D.I. No. 68).)15 Yucaipa alleges that, as part

of the alleged “pattern of racketeering activity,” the affidavits submitted by Richard Ehrlich of

Black Diamond (the “Ehrlich Affidavit”) and Jeffrey Schaffer of Spectrum (the “Schaffer

Affidavit”) in support of the involuntary petitions failed to disclose that the alleged Involuntary

Petition Payoff was “for the purpose of commencing an involuntary bankruptcy case,” in

violation of 18 U.S.C. §§ 152(2), 152(3), 1503. (Compl. ¶¶ 175, 178, 182, 186.)

               On February 1, 2013, the Committee commenced the Committee Action on behalf

of Allied and its unsecured creditors,16 asserting derivative claims against Yucaipa for, inter alia,

equitable subordination based on the Committee’s “comprehensive investigation of potential

claims belonging to the Debtors’ estates, including the review of thousands of pages of


14
  Interestingly, Yucaipa fails to explain why, given their control of the Allied board, Yucaipa did
not simply have Allied enter into an asset purchase agreement directly with JCT.
15
  “Allied Bankr.” refers to In re ASHINC Corporation, et al., Case No. 12-11564 (CSS) (Bankr.
D. Del.).
16
  The Committee represents the interests of Allied and its unsecured creditors. Black Diamond
and Spectrum are secured creditors and are thus not members of, or represented by, the
Committee. The Committee was granted standing by the Bankruptcy Court to bring claims on
behalf of Allied. (Mumford Aff. Ex. 3 (Allied Bankr., D.I. No. 1015) ¶ 1.)

                                                 11
documents obtained from the relevant parties.” (Mumford Aff. Ex. 4 (Committee Adv. Proc.,

D.I. No. 1)17; id. Ex. 5 (Allied Bankr., D.I. No. 858) ¶ 6.) In the course of that independent

investigation, the Committee uncovered Yucaipa’s “efforts to take control over all facets of the

Debtors’ capital structure in an effort to protect its equity investment and frustrate the legitimate

rights of creditors of Allied” and found that “Yucaipa trampled upon the legitimate rights and

expectations of the Debtors’ secured and unsecured creditors and caused the Debtors to make

exorbitant and unnecessary payments to third parties acting at Yucaipa’s direction and for

Yucaipa’s benefit, not for the benefit of the Company or its stakeholders.” (Id. Ex. 5 ¶ 3.) The

Committee concluded that Yucaipa’s claims “are subject to equitable subordination.” (Id. ¶ 6.)

               On February 27, 2013, the Bankruptcy Court granted Black Diamond and

Spectrum intervenor status in the Committee Action to assert a direct equitable subordination

claim against Yucaipa. (Mumford Aff. Ex. 6 (Allied Adv. Proc., D.I. No. 162) at 40:15-22.)18 As

a result, on March 14, 2013, the Committee (as Plaintiff) and Black Diamond and Spectrum (as

Intervenors) filed an amended complaint against Yucaipa and numerous directors of Allied (the

“Committee Amended Complaint”), asserting various claims, including the Committee’s

derivative equitable subordination claim against Yucaipa, and Black Diamond and Spectrum’s

direct equitable subordination claim against Yucaipa. (Mumford Aff. Ex. 7 (Committee Adv.

Proc., D.I. No. 76).) The Committee Action is pending.

               On July 30, 2013, the Bankruptcy Court granted motions for summary judgment

filed by Black Diamond and Spectrum, holding that Black Diamond and Spectrum are the


17
  “Committee Adv. Proc.” refers to The Official Committee of Unsecured Creditors of Allied
Systems Holdings, Inc. v. Yucaipa Am. Alliance Fund I, L.P., et al., Adv. Proc. No. 13-50530
(CSS) (Bankr. D. Del.).
18
  “Allied Adv. Proc.” refers to Allied Systems Holdings, Inc. v. Am. Money Mgmt., et al., Adv.
Proc. 12-50947 (CSS) (Bankr. D. Del.).

                                                 12
Requisite Lenders under the operative Third Amendment. (Mumford Aff. Ex. 8 (Committee

Adv. Proc., D.I. No. 297) at 120:11-13.) Yucaipa has appealed that decision, and its appeal will

be fully briefed and submitted on June 22, 2015 to this Court.

               In the summer of 2013, the Bankruptcy Court supervised an auction of Allied’s

assets in which (i) JCT purchased substantially all of Allied assets for approximately $135

million; and (ii) the remainder of Allied’s assets (the “SBDRE Assets”) were acquired on behalf

of all Lenders (including Yucaipa). (Compl. ¶¶ 28, 32.) The full amount of what Yucaipa asserts

is its purported pro rata share (55.2%) is being held in escrow pending the equitably

subordination claims against Yucaipa. (Mumford Aff. Ex. 9 (Allied Bankr., D.I. No. 1837) ¶ 13.)

               On November 19, 2014, Black Diamond and Spectrum (and related entities)

commenced the BD/S Action in the Bankruptcy Court against Yucaipa, numerous directors of

Allied, and Ronald Burkle (Yucaipa’s principal). (Mumford Aff. Ex. 10 (BD/S Adv. Proc., D.I.

No. 1).)19 The BD/S Action asserts, inter alia, a claim for equitable subordination against

Yucaipa based, in part, on Yucaipa’s use of its status as purported Requisite Lender to derail

negotiations with JCT by insisting upon a disproportionate share of the consideration. (Id.)

               On February 19, 2015, Yucaipa filed an answer and counterclaim for equitable

subordination against Black Diamond and Spectrum in the BD/S Action (“Yucaipa’s

Counterclaim”). (Mumford Aff. Ex. 11(BD/S Adv. Proc., D.I. No. 19).) Yucaipa’s Counterclaim

is virtually identical to Yucaipa’s Complaint in this action, except that, based on the same facts

alleged in this case, it seeks to equitably subordinate Black Diamond and Spectrum’s First Lien

Debt. Black Diamond and Spectrum have moved to dismiss Yucaipa’s Counterclaim based on



19
  “BD/S Adv. Proc.” refers to BDCM Opportunity Fund II, LP, et al. v. Yucaipa Am. Alliance
Fund I, L.P., et al., Adv. Proc. No. 14-50971 (CSS) (Bankr. D. Del.).

                                                 13
many of the same arguments raised here, in particular the Covenant not to Sue and collateral

estoppel based on prior decisions by the Bankruptcy Court. The BD/S Action is pending.20

       G.      Proceedings Before the Delaware Chancery Court

               On December 11, 2013, Yucaipa filed an action in the Delaware Chancery Court

against Black Diamond, Spectrum, and related entities, seeking to increase Yucaipa’s recovery

from the SBDRE Assets (the “Chancery Action”). (Compl. ¶ 143.) On October 31, 2014, the

Delaware Chancery Court dismissed most of the claims in the Chancery Action pursuant to the

Covenant Not to Sue and stayed the remainder of the action pending the resolution of the

Committee Action and other proceedings in the Bankruptcy Court because “[r]esolution of the

claims pending before the Bankruptcy Court could moot every non-dismissed aspect of this case

and terminate the litigation.” Yucaipa Am. Alliance Fund I, LP v. SBDRE LLC, No. 9151-VCP,

2014 WL 5509787, at *14, *16 (Del. Ch. Oct. 31, 2014).

       H.      Proceedings in the Southern District of New York

               On February 6, 2015, Yucaipa filed the SDNY Complaint which was virtually

identical to the instant Complaint. After Defendants moved to dismiss the SDNY Complaint on

substantially the same grounds raised herein, on April 7, 2015, Judge Cote ordered that if

Yucaipa opposed the motion to dismiss instead of amending the SDNY Complaint, Yucaipa

“will have no further opportunity to amend.” (Mumford Aff. Ex. 12.) In a transparent attempt at

forum shopping, Yucaipa, rather than responding to the motion or amending its SDNY

Complaint, instead withdrew its SDNY Complaint and re-filed it in this Court.

20
  Yucaipa moved in the Committee Action for leave to assert the same equitably subordination
counterclaim against Black Diamond and Spectrum; that motion has been opposed by Black
Diamond and Spectrum and is still pending. Yucaipa was required to make the motion because
of the untimeliness of the proposed counterclaim, which, as with Yucaipa’s Counterclaim
asserted in the BD/S Action, is virtually identical to the RICO claim asserted in the SDNY
Complaint and in this action.

                                               14
                                           ARGUMENT

I.     YUCAIPA’S CLAIMS ARE BARRED BY NOERR-PENNINGTON

               All of Yucaipa’s claims are premised upon Black Diamond and Spectrum’s

litigation-related conduct in connection with filing the involuntary petitions and equitable

subordination claims against Yucaipa in the Allied bankruptcy cases. (See, e.g., Compl. ¶¶ 164,

210-12, 215-17.) Fatal to those claims, however, is the Noerr-Pennington doctrine, which

protects a litigant’s right to “petition the Government for redress of grievances,” a fundamental

principle that cannot be abridged under the First Amendment of the U.S. Constitution. See

E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 137 (1961); Mcdonald

v. Smith, 472 U.S. 479, 482 (1985). Under the Noerr-Pennington doctrine, every step of

litigation is immunized from liability. See Noerr Motor Freight, 365 U.S. at 136, 144; United

Mine Workers of Am. v. Pennington, 381 U.S. 657, 670 (1965). The Noerr-Pennington doctrine

even extends to protect conduct that is “incident to litigation,” such as pre-litigation activity,

threat letters, and settlement negotiations, Magnetar Techs. Corp. v. Six Flags Theme Parks, Inc.,

No. 07-127-LPS, 2011 WL 678707, at *2 (D. Del. Feb. 18, 2011), “even if there is an improper

purpose or motive” behind that conduct, so long as that conduct does not constitute sham

activity, A.D. Bedell Wholesale Co., Inc. v. Philip Morris Inc., 263 F.3d 239, 250 (3d Cir. 2001).

               Courts in the Third Circuit have applied the Noerr-Pennington doctrine to dismiss

RICO, fraud and tortious interference claims – the very claims Yucaipa asserts in this action.

See, e.g., Cheminor Drugs, Ltd. v. Ethyl Corp., 168 F.3d 119, 128 (3d Cir. 1999) (dismissing state

law tort claims); Giles v. Phelan, Hallinan & Schmeig, L.L.P., No. 11-6239, 2013 WL 2444036,

at *6 (D.N.J. June 4, 2013) (dismissing RICO claims); Klatch-Maynard v. Sugarloaf Twp., No.

3:06cv845, 2011 WL 532168, at *5 (M.D. Pa. Feb. 8, 2011) (dismissing RICO claims); see also

Bath Petroleum Storage, Inc. v. Mkt. Hub Partners, L.P., No. 00-7302, 2000 WL 1508873, at *1

                                                  15
(2d Cir. Oct. 11, 2000) (“Noerr-Pennington immunity is applicable to RICO actions and to state-

law claims such as fraud and tortious interference.”).

               To overcome Noerr-Pennington’s immunization of litigation-related activity, a

plaintiff must show that such activity is a “mere sham.” See Prof’l Real Estate Investors v.

Columbia Pictures Indus., 508 U.S. 49, 51 (1993). The “mere sham” exception has “objective”

and “subjective” components, both of which are Yucaipa’s burden to establish. Id. at 60-61.

       A.      Yucaipa Fails to Satisfy the Objective Prong of the “Mere Sham” Exception

               Under the objective prong of the “mere sham” exception, litigation-related

conduct is “objectively baseless” where “no reasonable litigant could realistically expect success

on the merits.” Prof’l Real Estate Investors, 508 U.S. at 60. If “the suit is reasonably calculated

to elicit a favorable outcome, the suit is immunized under Noerr.” Id. If the Court initially

determines that the litigation conduct was not “objectively baseless,” the Court need not even

reach the subjective prong of the “mere sham” exception. See Cheminor, 168 F.3d at 123 &

n.10; Braintree Labs., Inc. v. Schwartz Pharma, Inc., 568 F. Supp. 2d 487, 495 (D. Del. 2008).

               Here, Yucaipa cannot satisfy its burden of showing that the involuntary

bankruptcy petitions filed by Black Diamond and Spectrum are “objectively baseless.” Indeed,

Yucaipa admits that before the involuntary petitions were filed, Allied could not pay its debts as

they became due and that Yucaipa itself was contemplating putting Allied into bankruptcy.

(Compl. ¶¶ 74, 95, 97.) Moreover, shortly after the involuntary petitions were filed, Allied itself

consented to the bankruptcy. Black Diamond and Spectrum were protecting their rights as

creditors of Allied, and therefore were engaging in constitutionally-protected petitioning activity

when they filed the involuntary petitions. Accordingly, Yucaipa cannot seriously contend that the

filing of the involuntary petitions was “objectively baseless.”



                                                16
                Likewise, Yucaipa cannot seriously contend that the equitable subordination

claims against it are “objectively baseless.” Conspicuously absent from Yucaipa’s Complaint is

the fact that the Committee, acting on behalf of Allied and the unsecured creditors (not Black

Diamond and Spectrum), independently brought a substantially similar equitable subordination

claim against Yucaipa that arises from the same nucleus of operative facts. Under its statutory

authority to “investigate the acts, conduct, assets, liabilities, and financial condition of the

debtor,” 11 U.S.C. § 1103(c)(2), the Committee undertook an independent investigation and

discovered Yucaipa’s “efforts to take control over all facets of the Debtors’ capital structure in an

effort to protect its equity investment and frustrate the legitimate rights of creditors of Allied”

and found that “Yucaipa trampled upon the legitimate rights and expectations of the Debtors’

secured and unsecured creditors and caused the Debtors to make exorbitant and unnecessary

payments to third parties acting at Yucaipa’s direction and for Yucaipa’s benefit, not for the

benefit of the Company or its stakeholders.” (Mumford Aff. Ex. 5 ¶¶ 3, 6.) The Committee

concluded that Yucaipa’s claims “are subject to equitable subordination.” (Id. ¶ 6.) Given that

Black Diamond and Spectrum’s equitable subordination claims are substantially the same as the

Committee’s claim, Yucaipa plainly cannot show that the equitable subordination claims brought

by Black Diamond and Spectrum are “objectively baseless.”

        B.      Yucaipa Fails to Satisfy the Subjective Prong of the “Mere Sham” Exception

                The Supreme Court has held that “[o]nly if challenged litigation is objectively

meritless may a court examine the litigant’s subjective motivation.” Prof’l Real Estate Investors,

508 U.S. at 60. In determining the subjective prong of the “mere sham” exception, the Court

“should focus on whether the baseless lawsuit conceals ‘an attempt to interfere directly with the

business relationships of a competitor,’ through the ‘use of the governmental process – as

opposed to the outcome of that process – as an anticompetitive weapon.’” Id. at 60-61 (citations
                                                  17
omitted). Thus, to satisfy the subjective prong, Yucaipa must show that Black Diamond and

Spectrum filed the involuntary petitions and equitable subordination claims not in the hopes that

they would be successful, but rather because they knew that their mere filing would harm

Yucaipa.

               Yucaipa cannot satisfy this burden. Even assuming, for the sake of argument, that

the involuntary petitions and equitable subordination claims are objectively baseless, and that

this Court is to examine the subjective prong, Yucaipa cannot show that Black Diamond and

Spectrum used the governmental process solely to harm Yucaipa. Rather, the entire purported

scheme alleged by Yucaipa hangs on the ultimate outcome of the equitable subordination

litigation in order to secure a greater recovery for themselves through litigation. (See, e.g.,

Compl. ¶¶ 1-3, 7, 29, 31, 79-80, 123.) As such, Yucaipa cannot show that Black Diamond and

Spectrum’s litigation filings subjectively were a “mere sham.”

II.    YUCAIPA’S COMPLAINT IS BARRED BY THE COVENANT NOT TO SUE

               Yucaipa’s Complaint is also barred by the Covenant Not to Sue, which prohibits

Yucaipa from suing Lenders for claims “arising out of, in connection with, as a result of, or in

any way related to, [the Credit Agreement] or . . . any Loan or the use of the proceeds thereof or

any act or omission or event occurring in connection therewith.”21 (Compl. Ex. 14 § 2.7(e)).)

               Here, all of Yucaipa’s claims are “arising out of, in connection with, as a result of,

or in any way related to” the Credit Agreement or “any Loan or the use of the proceeds thereof or

any act or omission or event occurring in connection therewith.” In particular, Yucaipa’s claims

are all based upon a purported “scheme” by Black Diamond and Spectrum to make more money

21
  Based on the Covenant Not to Sue, both the Bankruptcy Court and the Delaware Chancery
Court dismissed claims asserted by Yucaipa. (Mumford Aff. Ex. 6 (Allied Adv. Proc., D.I. No.
162) at 105:3-107:1); Yucaipa Am. Alliance Fund I, LP v. SBDRE LLC, C.A. No. 9151-VCP,
2014 WL 5509787, at *14-16 (Del. Ch. Oct. 31, 2014).

                                                 18
off their First Lien Debt issued under the Credit Agreement by “knowingly making false

accusations of misconduct on the part of Yucaipa in order to ‘equitably subordinate’ Yucaipa’s

$170 million in First Lien Claims.” (Compl. ¶ 2 (emphasis added).) Yucaipa’s “First Lien

Claims” plainly arise from the Credit Agreement and the Loans and proceeds thereunder.

Similarly, Yucaipa’s allegations that Black Diamond and Spectrum “scuttled” the proposed sale

to JCT are likewise barred by the Covenant Not to Sue because that transaction contemplated the

sale of First Lien Debt to JCT. (See Compl. ¶ 98.)

                 The Covenant Not to Sue has an exception for claims of “gross negligence or

willful misconduct . . . as determined by a court of competent jurisdiction by final and non-

appealable judgment” (the “Prior Determination Requirement”). (Compl. Ex. 14 § 2.7(e).) As

the Bankruptcy Court and Delaware Chancery Court have already found, the Prior Determination

Requirement, by its express terms, is not satisfied by Yucaipa merely alleging gross negligence

or willful misconduct. Rather, Yucaipa can sue other Lenders only after there has been a final

and non-appealable judgment that the Lender committed gross negligence or willful misconduct.

(Mumford Aff. Ex. 6 (Allied Adv. Proc., D.I. No. 162) at 105:6-13); Yucaipa Am. Alliance Fund

I, LP v. SBDRE LLC, C.A. No. 9151-VCP, 2014 WL 5509787, at *14 (Del. Ch. Oct. 31, 2014)

(“Yucaipa cannot sue Black Diamond [or Spectrum] in the absence of a final, non-appealable

determination that Black Diamond [or Spectrum] acted with gross negligence or willful

misconduct.”).

                 Yucaipa indisputably cannot satisfy the Prior Determination Requirement because

there has been no prior judicial determination that Black Diamond or Spectrum engaged in gross

negligence or willful misconduct in connection with the Credit Agreement or the Loan or any




                                                19
proceeds thereof. Accordingly, the Complaint should be dismissed in its entirety because all of

Yucaipa’s claims in this action are barred by the Covenant Not to Sue.22

III.   YUCAIPA FAILS TO STATE A CLAIM UNDER RICO

               Another reason that Yucaipa’s Complaint should be dismissed in its entirety is

that Yucaipa has failed to state a claim under RICO, which is Yucaipa’s sole basis for federal

subject matter jurisdiction. The RICO statute, 18 U.S.C. § 1961, et seq., is one of “the most

misused statutes in the federal corpus of law.” Goldfine v. Sichenzia, 118 F. Supp. 2d 392, 394

22
  The Delaware Chancery Court found that, on a motion to dismiss, it is “reasonably
conceivable” that where Yucaipa “alleges a unique harm – meaning no other Lender could sue
and the Prior Determination Requirement could not be satisfied – construing the Carve Out so
broadly that it would fail to provide an escape hatch for Yucaipa in those circumstances arguably
would produce a prohibited result” that would be “contrary to public policy.” Yucaipa Am.
Alliance Fund I, LP, 2014 WL 5509787, at *15. However, because the Chancery Action has not
reached a final judgment on the merits, this “public policy” interpretation of the Covenant Not to
Sue is not subject to collateral estoppel. But even if it were, Yucaipa nevertheless cannot show
that the application of the Covenant Not to Sue to this action would violate public policy because
the harms alleged in the Complaint are not unique to Yucaipa.
In a brazen attempt to sidestep this inevitable conclusion, in the instant Complaint, Yucaipa has
excised all of its prior admissions from its SDNY Complaint as to harm suffered by Lenders
other than Yucaipa. In the SDNY Complaint, Yucaipa alleged that “if the sale [to JCT] had
proceeded as then contemplated it would have maximized value for all stakeholders. Under that
March 2012 term sheet, each of the First Lien Lenders (including Yucaipa and Defendants)
would have benefitted on equal terms.” (SDNY Compl. ¶ 24 (emphasis added).) Yucaipa
further alleged in the SDNY Complaint that it suffered damages from the “loss of profit on the
original JCT transaction scuttled by Defendants’ wrongful involuntary bankruptcy filing.”
(SDNY Compl. ¶ 30.) Those alleged harms were not unique to Yucaipa. Because all the First
Lien Lenders stood to benefit from the proposed JCT deal, the filing of the involuntary petitions
– which allegedly “scuttled” the JCT deal – harmed all the Lenders.
In the instant action, Yucaipa cannot invoke the “public policy” interpretation of the Covenant
Not to Sue simply by omitting its prior admissions that the alleged scheme harmed all the
Lenders. Indeed, notwithstanding Yucaipa’s attempt to whitewash its new Complaint, this Court
should find that the Complaint still alleges harm that was not unique to Yucaipa because Yucaipa
has attached as an exhibit to its new Complaint the March 2012 term sheet, which provided that
JCT would purchase the debt held by the First Lien Lenders “for a purchase price of up to par
plus accrued and unpaid interest.” (Compl. Ex. 4.) Because all the Lenders stood to get a full
recovery on their First Lien Debt from JCT, Black Diamond and Spectrum’s alleged “scuttling”
of that deal harmed all the Lenders, not just Yucaipa. Accordingly, application of the Covenant
Not to Sue to bar Yucaipa’s new Complaint would not violate public policy.

                                                20
(S.D.N.Y. 2000) (internal quotation marks omitted). Indeed, “courts should strive to flush out

frivolous RICO allegations at an early stage of the litigation.” Rotherberg v. Marger, 11 Civ.

5497 (RBK), 2013 U.S. Dist. LEXIS 44473, at *31 (D.N.J. Mar. 28, 2013).

               Courts must “carefully scrutinize” RICO claims “because of the ‘relative ease

with which a plaintiff may mold a RICO pattern from allegations that, upon closer scrutiny, do

not support it.’” Sunlight Elec. Contracting Co., Inc. v. Turchi, 918 F. Supp. 2d 392, 402 (E.D.

Pa. 2013) (quoting Kolar v. Preferred Real Estate Investments, Inc., 361 F. App’x 354, 363 (3d

Cir. 2010)). Congress’s intent in enacting RICO was to combat “long-term criminal conduct”

and the “danger posed by organized crime-type offenses.” Hughes v. Consol-Penn. Coal Co.,

945 F.2d 594, 611 (3d Cir. 1991) (internal quotations and citations omitted). Accordingly, RICO

claims should be viewed with scrutiny to ensure that “only those purported RICO claims which

truly fit within the intent of the statute will proceed.” O’Malley v. BancAmerica Commercial

Corp., No. 89 Civ. A. 89-2405, 1992 WL 81394, at *4 (E.D. Pa. Apr. 17, 1992).

               Garden variety business disputes that are disguised as RICO claims should be

dismissed. See, e.g., Sunlight, 918 F. Supp. 2d at 405-06 (dismissing RICO claim that

“present[ed] a garden variety breach of contract claim”); Pac. Elec. Wire & Cable Co., Ltd. v. Set

Top Intern., Inc., No. 03 Civ. 9623 (JFK), 2005 WL 578916, at *13 (S.D.N.Y. Mar. 11, 2005)

(“[C]ourts must always be on the lookout for the putative RICO case that is really nothing more

than a fraud case clothed in the Emperor’s trendy garb.”) (internal quotation marks omitted).

       A.      Yucaipa Lacks Standing to Assert Its RICO Claims

               As a threshold matter, Yucaipa does not have standing to assert RICO claims

because its damages are contingent upon outcomes of the proceedings in Bankruptcy Court. As

Yucaipa itself admits, the ultimate objective of the alleged RICO conspiracy – equitable

subordination of Yucaipa’s claims in Bankruptcy Court – has not yet occurred and “is ongoing to
                                                21
this day.” (Compl. ¶ 29.) Where, as here, a “concrete financial loss” cannot be alleged,

plaintiffs lack standing under RICO because their claims are not ripe. Maio v. Aetna, Inc., 221

F.3d 472, 486-87 (3d Cir. 2000); see also, e.g., Motorola Credit Corp. v. Uzan, 322 F.3d 130,

135 (2d Cir. 2003) (unless damages are “clear and definite,” plaintiffs “lack statutory standing

under RICO because their claims are unripe”); Johnson v. Heimbach, No. 03 Civ.A. 2483

(BMS), 2003 WL 22838476, at *4 (E.D. Pa. Nov. 25, 2003) (“a complaint does not adequately

plead a RICO violation unless it shows damage to business or property with some certainty; if

the claimed injury is speculative, it is not ripe for adjudication”).

               Critically, under Third Circuit law, damages that, as here, are prospective or

contingent on future events are not sufficient to satisfy RICO’s standing requirements. Maio,

221 F.3d at 494-95; see also Barbieri v. Wells Fargo & Co., No. 09 Civ. 3196 (RBS), 2014 WL

7330461, at *5 (E.D. Pa. Dec. 22, 2014) (“to qualify as a ‘concrete financial loss,’ the plaintiff’s

injury cannot be speculative or contingent on future events”); FL Receivables Trust 2002-A v.

Bagga, No. 03 Civ. 5108 (BWK), 2005 WL 563535, at *4 (E.D. Pa. Mar. 8, 2005) (“the [Third

Circuit in Maio] left no doubt that an injury that is speculative or contingent on future events

does not confer RICO standing”); Walter v. Palisades Collection, LLC, 480 F. Supp. 2d 797, 804

(E.D. Pa. 2007) (“RICO liability cannot attach to future contingent damages”).

               For these very reasons, where damages are contingent upon the outcomes of

collection efforts or pending claims in bankruptcy proceedings, RICO standing is lacking

because the claims are unripe. See, e.g., FL Receivables Trust, 2005 WL 563535, at *3-4

(dismissing RICO claims on the basis that the amount of alleged damages “depends directly on

the results of [plaintiff’s] currently pending collection action”); Harbinger Capital Partners

Master Fund I, Ltd. v. Wachovia Capital Markets, LLC, 347 F. App’x 711, 712-13 (2d Cir. 2009)



                                                  22
(“[B]ecause bankruptcy proceedings are still pending, and because it cannot now be determined

whether those proceedings will mitigate or remedy [plaintiffs’] damages, we conclude their

claims are not yet ripe”); Barnett v. Stern, 909 F.2d 973, 977, n.4 (7th Cir. 1990) (creditors

lacked standing under RICO until recovery from bankruptcy proceeding became clear); First

Capital Asset Mgmt., Inc. v. Brickellbush, Inc., 219 F. Supp. 2d 576, 578 (S.D.N.Y. 2002) (a

creditor “claiming that its ability to collect its debt has been impaired or frustrated by a RICO

violation lacks standing to sue under RICO for the amount of the debt as long as the extent of the

loss remains uncertain, as for example where collection efforts continue”).

                Here, Yucaipa’s RICO claims are premised entirely on the notion that “the

culmination of Defendants’ scheme” is the equitable subordination of Yucaipa’s debt. (Compl.

¶ 29.) Yucaipa’s RICO claims cannot satisfy the “concrete financial loss” standing requirement

because, as Yucaipa itself admits, “[t]his final step . . . is ongoing to this day” and “if the

[equitable subordination] claims are ultimately successful . . . , Yucaipa’s claims will likely be

wiped out.” (Id. ¶¶ 29, 31 (emphasis added).) Indeed, Yucaipa’s damages – if any – will not be

“concrete” until final resolution of the pending equitable subordination claims. Accordingly,

Yucaipa’s RICO claims are not ripe and must be dismissed.

        B.      Yucaipa Fails to Allege a Pattern of Racketeering Activity

                Yucaipa’s RICO claims also must be dismissed because Yucaipa fails to plead the

essential element of a “pattern” of racketeering activity. See Sedima S.P.R.L. v. Imrex Co., Inc.,

473 U.S. 479, 496 (1985). To establish a pattern, Yucaipa must show that the alleged predicate

acts of racketeering are related and “amount to or pose a threat of continued criminal activity.”

H.J. Inc. v. Nw. Bell Telephone Co., 492 U.S. 229, 239 (1989). There are two types of

“continuity” that satisfy RICO’s pattern requirement: (i) closed-ended continuity, which is “a

closed period of repeated conduct”; and (ii) open-ended continuity, which is “past conduct that
                                                  23
by its nature projects into the future with a threat of repetition.” Id. at 241; Hughes v. Consol-

Pennsylvania Coal Co., 945 F.2d 594, 609-10 (3d Cir. 1991).

               1.      Yucaipa Has Failed to Adequately Allege Open-Ended Continuity

               Yucaipa cannot satisfy open-ended continuity because Yucaipa alleges that the

“scheme is ongoing and will continue until the members of the Enterprise achieve their goal of

equitably subordinating Yucaipa’s claims in the Allied bankruptcy case.” (Compl. ¶ 159

(emphasis added).) Given the inherently finite duration of the alleged scheme, Yucaipa has not

adequately alleged open-ended continuity. See, e.g., Kolar v. Preferred Real Estate Invs., Inc.,

361 F. App’x 354, 365 (3d Cir. 2009) (a “single, finite transaction cannot by itself underpin a

pattern of racketeering activity”); Baldwin v. Township of Union, No. 02 Civ. 1822 (WGB), 2005

WL 3588473, at *6 (D.N.J. Dec. 29, 2005) (no open-ended continuity where “predicate acts

focus on a clearly defined, discrete and finite goal”).

               2.      Yucaipa Has Failed to Adequately Allege Closed-Ended Continuity

               Yucaipa has also failed to sufficiently plead closed-ended continuity. To do so,

Yucaipa must allege “a series of related predicates extending over a ‘substantial period of time.’”

Hughes v. Consol-Penn. Coal Co., 945 F.2d 594, 609 (3d Cir. 1991)) (emphasis added) (quoting

H.J. Inc., 492 U.S. at 242). “Congress was concerned in RICO with long-term criminal

conduct.” H.J. Inc., 492 U.S. at 242 (emphasis added); see also Kolar, 361 F. App’x at 365

(recognizing that the pattern requirement is designed to prevent “ordinary commercial fraud from

being transformed into a federal RICO claim” (internal citations and quotations omitted)).

               The predicate acts at issue here took place over a nine-month period. The Third

Circuit has held that conduct lasting less than twelve months does not meet the continuity

standard, and even twelve months still may be insufficient. See, e.g., Hughes, 945 F.2d at 611

(3d Cir. 1991) (“twelve months is not a substantial period of time” and “cases finding substantial

                                                 24
period . . . dealt with fraudulent conduct lasting years, sometimes over a decade”); Hindes v.

Castle, 937 F.2d 868, 875 (3d Cir. 1991) (eight months not sufficient to establish closed-ended

continuity); Helman v. Murry’s Steaks, Inc., 742 F. Supp. 860, 882 (D. Del. 1990) (predicate acts

spanning twelve months did not satisfy closed-ended continuity requirement); see also, e.g.,

Tabas v. Tabas, 47 F.3d 1280, 1293 (3d Cir. 1995) (“Since H.J. Inc., this court has faced the

question of continued racketeering activity in several cases, each time finding that conduct

lasting no more than twelve months did not meet the standard for closed-ended continuity.”).

               Courts in the Third Circuit consider additional factors other than duration, such as

“the similarity of the acts, the number of victims, the number of perpetrators, and the character of

the unlawful activity.” Kehr Packages, Inc. v. Fidelcor, Inc, 926 F.2d 1406, 1412-13 (3d Cir.

1991); Meade v. Meade, No. 91 Civ. 5515, 1991 WL 243539, at *4-5 (E.D. Pa. Nov. 18, 1991)

(no continuity based on “the small number of victims, small number of perpetrators, and the

isolated character of the unlawful activity”).

               Here, Yucaipa’s Complaint amounts to nothing more than a business dispute

between creditors that does not constitute criminal activity, let alone pose a threat of continued

criminal activity. The alleged pattern of racketeering activity has only one objective (the

equitable subordination of Yucaipa’s First Lien Debt) and only one intended victim (Yucaipa).

Further, the predicate acts of racketeering alleged in the Complaint all took place over only a

nine-month period, between September 2011 and May 2012. (See Compl. ¶¶ 163-99.)

               In addition, Yucaipa’s allegations of mail and wire fraud from September 2011

(emails between Black Diamond and Spectrum concerning the potential of filing involuntary

petitions (Compl. ¶ 193)) should be rejected in determining whether Yucaipa has satisfied the

continuity requirement because Yucaipa cannot tack on conclusory allegations of mail and wire



                                                 25
fraud to add more time to its alleged pattern of racketeering conduct. See, e.g., Kehr Packages,

926 F.2d at 1418 (“in determining the duration of a scheme involving mail fraud, the relevant

criminal conduct is the defendant’s deceptive or fraudulent activity, rather than otherwise

innocent mailings that may continue for a long period of time”). In Kehr, the Third Circuit held

that “the continuity test requires us to look beyond the mailings and examine the underlying

scheme or artifice” and that “the instances of deceit constituting the underlying fraudulent

scheme are more relevant to the continuity analysis.” Id. at 1413-14.23 If the Complaint’s

conclusory allegations of mail and wire fraud in September 2011 are disregarded, the remaining

alleged predicate acts of racketeering took place over only a three month period, between March

2012 (the alleged “Involuntary Petition Payoff”) and May 2012 (the filing of the involuntary

petitions). (Compl. ¶¶ 169-89.)

               But in any event, even if the emails from September 2011 are counted, the nine-

month time period of alleged predicate acts is too short to satisfy the continuity requirement.

Accordingly, Yucaipa has failed to adequately allege closed-ended continuity.

       C.      Yucaipa Is Collaterally Estopped From Alleging that Black Diamond and
               Spectrum “Encouraged” Yucaipa to Buy First Lien Debt

               This is not the first time that Yucaipa has alleged that Black Diamond and

Spectrum “encouraged” Yucaipa to buy First Lien Debt. Yucaipa previously made that same

allegation in the cross-claims that Yucaipa filed against Black Diamond and Spectrum in the

Bankruptcy Court (the “Cross-Claims”), which the Bankruptcy Court rejected as implausible.


23
  See also Gross v. Waywell, 628 F. Supp. 2d 475, 494 (S.D.N.Y. 2009) (“allegations of RICO
violations involving solely mail and wire fraud or little other variety in the predicate acts, a
limited number of participants or victims, a discrete scheme with a narrow purpose or a single
property – as opposed to complex, multi-faceted schemes – are generally insufficient to
demonstrate closed-ended continuity, and thus to satisfy the ‘pattern’ element of a plausible
RICO claim.”).

                                                26
(Mumford Aff. Ex. 13 (Allied Adv. Proc., D.I. No. 65) ¶¶ 5, 7, 71, 118.) Accordingly, Yucaipa is

collaterally estopped from recycling those same allegations in support of its RICO claims.

               Collateral estoppel prevents parties from re-litigating an issue that was fully and

fairly litigated in a previous action. Jean Alexander Cosmetics, Inc. v. L’Oreal USA, Inc., 458

F.3d 244, 248-49 (3d Cir. 2006).24 Collateral estoppel applies where (1) the identical issue was

raised in a previous action; (2) the issue was actually litigated and decided; (3) the party had a

full and fair opportunity to litigate the issue; and (4) the resolution of the issue was necessary to

support a final judgment on the merits. Id.

               Here, Yucaipa alleges that as part of the alleged RICO scheme, Black Diamond

and Spectrum “encouraged” Yucaipa to purchase as much First Lien Debt as possible and

allegedly never “once voice[d] any opposition to any aspect of Yucaipa’s plan to become

Requisite Lender, including the Fourth Amendment,” but then “secretly” directed CIT “to refuse

to recognize Yucaipa as Requisite Lender.” (Compl. ¶¶ 8, 83-91, 93.)

               Yucaipa made these same allegations in its Cross-Claims. The Cross-Claims

alleged that Black Diamond and Spectrum “supported Yucaipa’s acquisition of the Requisite

Lender position” and “encouraged Yucaipa’s proposed plan, a fact on which Yucaipa relied in

executing the plan.” (Mumford Aff. Ex. 13 (Allied Adv. Proc., D.I. No. 65) ¶¶ 4, 71.) Black

Diamond and Spectrum then allegedly “chose to double-cross Yucaipa” by “surreptitiously

sen[ding] a letter to [CIT] questioning the validity of Yucaipa’s Requisite Lender status.” (Id. ¶

7.) These allegations were integral to Yucaipa’s Cross-Claims, in which it argued that

enforcement of the Third Amendment would unjustly enrich Black Diamond and Spectrum


24
  District Courts are required to give preclusive effect to final orders by Bankruptcy Courts that
satisfy the requirements for collateral estoppel. See Bd. of Trustees of Trucking Employees of N.
Jersey Welfare Fund, Inc. - Pension Fund v. Centra, 983 F.2d 495, 505-06 (3d Cir. 1992).

                                                  27
because of their alleged “encouragement” to Yucaipa to improperly proclaim itself Requisite

Lender. (Id. ¶ 118.) Yucaipa had a full and fair opportunity to litigate the plausibility of those

allegations in opposing Black Diamond and Spectrum’s motion to dismiss the Cross-Claims.

The Bankruptcy Court dismissed the Cross-Claims, finding that Yucaipa’s allegations that Black

Diamond and Spectrum “encouraged” Yucaipa to buy First Lien Debt were implausible:

              “[T]he allegations in [the Cross-Claims] do not meet [the plausibility] standard.
               There is some innuendo, there’s some vague allegations. The bottom line is I just
               don’t think the story as pled holds together sufficiently to meet the standard.”
               (Mumford Aff., Ex. 6 (Allied Adv. Proc, D.I. No. 162) at 104:18-22.)

              “I don’t think there’s any allegation really that rises to the plausibility that there
               was any kind of mischief going on that was detrimental or directed at Yucaipa at
               the time of the third amendment being entered into the purchase, excuse me, and
               then the fourth amendment being negotiated, and then the debt being b[]ought and
               then the fourth amendment being passed.” (Id. at 105:23-106:3.)

               The Bankruptcy Court’s implausibility findings were necessary to support the

final judgment on the merits dismissing Yucaipa’s Cross-Claims, and Yucaipa never pursued an

appeal of that dismissal order. Accordingly, Yucaipa is now collaterally estopped from alleging

that (i) Black Diamond and Spectrum “encouraged” Yucaipa to purchase a majority of Allied’s

First Lien Debt, execute the Purported Fourth Amendment, and purport to act as the Requisite

Lender, and (ii) Black Diamond and Spectrum “surreptitiously” instructed CIT to challenge

Yucaipa’s purported Requisite Lender status.25 Without those allegations, the house of cards

Yucaipa attempts to build in alleging a RICO scheme lacks a foundation and collapses under its

own weight. See, e.g., Zahl v. N.J. Dep’t of Law & Public Safety Division of Consumer Affairs,



25
  Even if Yucaipa were not collaterally estopped from making these allegations (which it is),
Yucaipa’s “encouragement” allegations are not plausible. In particular, if Black Diamond and
Spectrum “encouraged” Yucaipa to purchase First Lien Debt, as Yucaipa alleges, it makes no
sense that Yucaipa never asked Black Diamond and Spectrum to execute the Purported Fourth
Amendment which was necessary to permit that acquisition.

                                                 28
428 F. App’x 205, 211-12 (3d Cir. 2011) (providing preclusive effect to findings in prior state

court action which “inject[ed]” federal RICO allegations with “crippling implausibility”).

       D.      Yucaipa’s Allegations Regarding Black Diamond and Spectrum’s Purported
               Racketeering “Scheme” Are Implausible

               Aside from Yucaipa’s implausible “encouragement” allegations, the remainder of

Yucaipa’s allegations of a RICO scheme are also implausible. In order to survive a motion to

dismiss, Yucaipa’s Complaint must contain “sufficient factual matter, accepted as true, to state a

claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation marks omitted). The Complaint must set forth “factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678.

If the Plaintiffs “have not nudged their claims across the line from conceivable to plausible, their

complaint must be dismissed.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

               Yucaipa’s Complaint, which is replete with inconsistencies and logical holes,

cannot meet the plausibility standard. For instance, Yucaipa alleges that Black Diamond and

Spectrum hatched a scheme to equitably subordinate Yucaipa’s First Lien Debt in 2009, but then

inexplicably waited nearly three years from the time Yucaipa acquired its First Lien Debt to file

involuntary petitions and then seek equitable subordination. (Compl. ¶¶ 78-79, 110.) Black

Diamond and Spectrum had nothing to gain by waiting around for years to execute their plan.

               Similarly, Yucaipa alleges that Black Diamond and Spectrum “negotiated directly

with JCT” for more than a year for a deal in which JCT would purchase all the First Lien Debt,

including the debt held by Black Diamond, Spectrum and Yucaipa. (Compl. ¶ 96.) If, as Yucaipa

alleges, Black Diamond and Spectrum’s plan all along was to equitably subordinate Yucaipa’s

debt, it is not plausible that they would have wasted more than a year negotiating with JCT for a

deal in which (i) Yucaipa would no longer hold any First Lien Debt to equitably subordinate and


                                                 29
(ii) Black Diamond and Spectrum would no longer hold claims against Allied, which would have

prevented them from filing the involuntary petitions needed to seek equitable subordination.

               Further, Yucaipa’s allegation that Black Diamond and Spectrum had been

conspiring since 2009 to equitably subordinate Yucaipa’s debt renders implausible the allegation

that three years later, in 2012, Black Diamond had to “buy Spectrum’s support for filing the

involuntary bankruptcy” with the so-called Involuntary Petition Payoff. (Compl. ¶ 107.) As

Yucaipa admits, Spectrum already held sufficient claims to qualify as a petitioning creditor

without the debt that was the subject of the alleged payoff (id. ¶ 23), and in any case, it was

Spectrum that had to pay Black Diamond (not Black Diamond pay Spectrum) for the additional

debt pursuant to the Cooperation Agreement (id. ¶¶ 101-05).26 Accordingly, Yucaipa’s

allegations of an “Involuntary Petition Payoff” are not plausible.

               Additionally, Yucaipa alleges that shortly before filing the involuntary petitions,

Black Diamond and Spectrum “scuttled” a deal with JCT in which JCT would have purchased

the debt held by all Lenders (including Black Diamond and Spectrum), “in order to equitably

subordinate Yucaipa’s $170 million in First Lien Claims.” (Id. ¶ 2). But in order for Black

Diamond and Spectrum to prevail in their equitable subordination claims, Yucaipa must have




26
   In alleging that Black Diamond “bribed” Spectrum into filing the involuntary petitions,
Yucaipa focuses on a single line in a many-months-long email chain, taken completely out of
context, in which Spectrum stated to Black Diamond: “Please get this closed this week. We
cannot file an involuntary without it done.” (Compl. ¶ 108; id Ex. 7.) Read in its entirety, the
email chain shows that, after months of trying to close the trade, Spectrum was expressing its
frustration that the trade still had not closed and that it should be closed before the involuntary
petitions were filed to avoid any delays or other administrative issues that could arise if the trade
were not closed until after the bankruptcy filing. (Compl. Ex. 7.) Throughout the months long
email chain, there is nothing about a payoff. Simply put, Spectrum’s purchase of its ratable
share of the debt under the Cooperation Agreement was not – as Yucaipa falsely alleges – a
“payoff” by Black Diamond to induce Spectrum to join in filing the involuntary petitions.

                                                 30
committed inequitable conduct. It is simply not plausible that Yucaipa is the innocent victim of a

purported RICO scheme to equitably subordinate Yucaipa’s debt if Yucaipa did nothing wrong.

               Moreover, Yucaipa’s implausible RICO scheme is built entirely on the premise

that Black Diamond and Spectrum gave up a guaranteed recovery from a transaction with JCT to

instead pursue a highly speculative scheme that (at most) would have resulted in the same

recovery. In this regard, a noticeable difference between the SDNY Complaint and the instant

Complaint is that Yucaipa has now omitted the fact that the JCT deal would have resulted in a

purchase price of “up to par plus accrued interest” for all of the First Lien Lenders. (SDNY

Compl. ¶ 24.) Yucaipa seeks to plead around that fact in the instant Complaint by alleging that

“at no time . . . did [Black Diamond and Spectrum] agree on terms that would have given Black

Diamond and Spectrum par plus accrued interest for their First Lien Debt” and that “Black

Diamond and Spectrum were not interested in any deal with JCT because they would have been

unable to recover par plus accrued interest.” (Compl. ¶¶ 19, 124.) Yucaipa’s impetus for

reversing course is obvious – Yucaipa seeks (but fails) to render its allegations more plausible.

However, Yucaipa cannot escape its prior admission in the SDNY Complaint that “JCT was

obligated to purchase all outstanding debt claims held by non-consenting Lenders ‘for a purchase

price of up to par plus accrued interest.’” (SDNY Compl. ¶ 24.) See Johnson v. Goldstein, 864

F. Supp. 490, 493 (E.D. Pa. 1994) (abandoned pleadings admissible as admission of party

opponent), aff’d 66 F.3d 311 (3d Cir. 1995). In fact, Yucaipa attaches to the instant Complaint

the term sheet for the JCT deal showing that JCT offered to pay the Lenders a “par plus accrued

interest” recovery. (Compl. Ex. 4.) It is simply not plausible that Black Diamond and Spectrum

would give up a guaranteed recovery of par plus accrued interest to pursue a highly

unpredictable and costly litigation strategy that would have yielded, at most, the same recovery.



                                                31
               Indeed, the ultimate success of this implausible “scheme” was dependent on all of

the following highly contingent events going Black Diamond and Spectrum’s way: First, Black

Diamond and Spectrum would have to convince Yucaipa to spend $43 million to buy a majority

of the First Lien Debt, even though the Third Amendment expressly prohibited Yucaipa from

doing so. Second, Black Diamond and Spectrum then would have to prevail in litigation on the

issue of whether Yucaipa could be the Requisite Lender (and prevail in any appeal of that ruling).

Third, Black Diamond and Spectrum would have to prevail in litigation for a declaration that

they are the Requisite Lenders (and prevail in any appeal of that ruling). Fourth, Black Diamond

and Spectrum would have to acquire Allied’s assets at a court-supervised auction through a credit

bid of the First Lien Debt, or cause the assets to be sold at a price that left the First Lien Debt

unsatisfied. Fifth, Black Diamond and Spectrum would have to prevail in litigation to equitably

subordinate Yucaipa’s debt (where recoverable damages would be capped at par plus accrued

interest (i.e., the same amount that JCT was willing to pay)). If any one of those five highly

unpredictable events did not occur, Black Diamond and Spectrum’s purported RICO scheme

would leave them with no better recovery than that which they would have obtained from JCT

through a risk-free transaction. Simply put, this “scheme” alleged by Yucaipa is not plausible.

               Because Yucaipa’s allegations concerning the purported scheme are not plausible,

Yucaipa’s RICO claims must be dismissed. See Mierzwa v. Safe & Secure Self Storage, LLC,

493 F. App’x 273, 275-76 (3d Cir. 2012) (dismissing RICO claims on the basis that the

allegations supporting them were not plausible).

       E.      Yucaipa Fails to State a Claim for RICO Conspiracy

               Because Yucaipa has failed to adequately allege a pattern of racketeering activity

under Section 1962(c), Yucaipa’s RICO conspiracy claim under Section 1962(d) also must be

dismissed. See Beck v. Prupis, 529 U.S. 494, 504-05 (2000) (holding that a claim for RICO
                                                  32
conspiracy under Section 1962(d) must fail if the plaintiff cannot establish a RICO violation

under Section 1962(c)); Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1191 (3d Cir. 1993)

(“Any claim under section 1962(d) based on a conspiracy to violate the other subsections of

section 1962 necessarily must fail if the substantive claims are themselves deficient.”).

       F.      The Court Should Decline to Exercise Supplemental Jurisdiction Over
               Yucaipa’s State Law Claims

               As set forth above, Yucaipa fails to state a claim under RICO, mandating

dismissal of Yucaipa’s federal claims. With no independent basis for federal jurisdiction, the

Court should decline to exercise supplemental jurisdiction over Yucaipa’s remaining state law

claims. See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966).

IV.    YUCAIPA FAILS TO STATE CLAIMS FOR TORTIOUS INTERFERENCE WITH
       BUSINESS RELATIONS OR FRAUD

               Even if the Court were to exercise supplemental jurisdiction over Yucaipa’s state

law claims, those claims should be dismissed for independent reasons.

               The Complaint fails to state a valid claim for tortious interference with business

relations. The Restatement (Second) of Torts provides that if a defendant’s conduct is directed,

at least in part, to advancing the defendant’s own competitive interest, “the fact that he is also

motivated by other impulses, as, for example, hatred or a desire for revenge is not alone

sufficient to make his interference improper.” Restatement (Second) of Torts § 768 cmt. g

(1979).27 Here, Yucaipa admits that Black Diamond and Spectrum advanced their own

economically competitive interests by allegedly backing out of the JCT deal to pursue a larger

recovery on their debt holdings through involuntary bankruptcy. (See, e.g., Compl. ¶ 124.)

Accordingly, Yucaipa has failed to state a claim for tortious interference with business relations.

27
  Delaware follows the Restatement (Second) of Torts with respect to tortious interference
claims. Irwin & Leighton, Inc. v. W.M. Anderson Co., 532 A.2d 983, 992 (Del. Ch. 1987).

                                                 33
               Yucaipa’s fraud claim should likewise be dismissed because the Complaint fails to

adequately allege the essential elements of reasonable reliance or damages. See, e.g., Lord v.

Souder, 748 A.2d 393, 402 (Del. 1999). However, more importantly, Yucaipa’s fraud allegations

principally consist of allegedly false statements made to the Bankruptcy Court in connection

with Black Diamond and Spectrum’s involuntary bankruptcy petitions. (See Compl. ¶ 211.)

These alleged misrepresentations are squarely before the Bankruptcy Court in the Committee

Action and the BD/S Action and are properly adjudicated there (where the false statements were

allegedly made). Defendants respectfully submit that this Court should dismiss Yucaipa’s fraud

claim and permit the Bankruptcy Court to adjudicate those allegations.

V.     THIS ACTION SHOULD BE STAYED PENDING RESOLUTION OF RELATED
       ACTIONS IN THE BANKRUPTCY COURT

               In the event that the Complaint is not dismissed in its entirety, this action should

be stayed pending the resolution of earlier-filed actions involving the same legal and factual

issues.28 Courts in the Third Circuit follow the first-filed rule, which aims at “conserving

judicial resources and safeguarding litigants by preventing concurrent duplicative litigation of

the same issues between the same parties in more than one federal court. APV N. Am., Inc v. Sig

Simonazzi N. Am., Inc., 295 F. Supp. 2d 393, 396 (D. Del. 2002). Under this rule, “priority is

given to an earlier filed action, such that any subsequently filed action involving the same parties

and the same issues should be stayed and/or transferred to the court in which the earlier filed


28
  If Yucaipa’s Complaint is dismissed in its entirety, Yucaipa should not be granted leave to
amend its Complaint. Any amendment would be futile because (i) the filing of the involuntary
petitions and equitable subordination claims are protected activity under the Noerr-Pennington
doctrine; (ii) Yucaipa’s claims are barred by the Covenant Not to Sue; and (iii) Yucaipa cannot
meet the continuing scheme requirement given that the alleged predicate acts span only a few
months. Further, Yucaipa’s Complaint is, in itself, nothing more than an amendment of its
SDNY Complaint. Yucaipa should not be given a third bite at the apple to assert another
meritless RICO complaint.

                                                 34
action is pending.” Id. Although a court may depart from the first-filed rule in “exceptional

circumstances,” invocation of the rule “will usually be the norm, not the exception.” E.E.O.C. v.

Univ. of Pennsylvania, 850 F.2d 969, 979 (3d Cir. 1988).

               Here, Yucaipa’s claims arise from Black Diamond and Spectrum’s alleged scheme

to equitably subordinate Yucaipa’s claims. Whether, and the extent to which, Yucaipa’s claims

are equitably subordinated will be determined in the pending Committee Action and BD/S

Action. To allow Yucaipa to simultaneously litigate the same issues in different courts plainly

would constitute a waste of judicial resources and would create a possibility of inconsistent

rulings. Accordingly, if this action is not dismissed in its entirety, it should be stayed pending

resolution of the Committee Action and the BD/S Action.

                                          CONCLUSION

               For the foregoing reasons, Yucaipa’s Complaint should be dismissed in its entirety

with prejudice, or alternatively should be stayed pending resolution of the related actions.

Dated: June 4, 2015                             LANDIS RATH & COBB LLP
       Wilmington, Delaware

                                                  /s/ Kerri K. Mumford
                                                Adam G. Landis (No. 3407)
                                                Kerri K. Mumford (No. 4186)
                                                919 Market Street, Suite 1800
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 467-4400
                                                Facsimile: (302) 467-4450

                                                - and -

                                                SCHULTE ROTH & ZABEL LLP
                                                Adam C. Harris
                                                Robert J. Ward
                                                919 Third Avenue
                                                New York, New York 10022
                                                Telephone: (212) 756-2000
                                                Facsimile: (212) 593-5955


                                                 35
